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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :        Case No: 21-CR-378 (TJK)
                                             :
                                             :
ARTHUR JACKMAN,                              :
                                             :
               Defendant.                    :
                                             :


              NOTICE OF FILING OF DISCOVERY CORRESPONDENCE

       The United States of America, by and through the United States Attorney for the District

of Columbia, hereby files its August 3, 2021 discovery letter, memorializing discovery sent on that

same day, which is served as an attachment via ECF on counsel for Defendant.




                                                     Respectfully submitted,

                                                     CHANNING D. PHILLIPS
                                                     ACTING UNITED STATES ATTORNEY


                                                     By:      /s/ Nadia E. Moore
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